                            Case 2:16-cr-00324-DB Document 34 Filed 07/12/17 Page 1 of 7
AO 245B (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STA::TRt~:\t)~~RIC                 d' COURT
                                                   lJ. ~), !)! ,.} n l v 9' ttJtf f\1
                                                                              I

                                                                District of Utah

               UNITED STATES OF AMERICA                       ZOil JUL j 2 i             ~U~:J~ENT IN A CRIMINAL CASE
                                   v.                            [~,c-~.. ,..,,)-,- 0.,,... , J"f"-" ll
                                                                  .J10lru91            TL        r'.l

                       Nathaniel Craigen Jetter                BY: fJffi"(j1y filrfKNumber:                      DUTX 2:16CR00324-001
                                                                                  )       USM Number: 24711-081
                                                                                  )
                                                                                  )         A. Chelsea Koch
                                                                                  )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)          Count 1s- Felony Information

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through              __7_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      1-4 Indictment                                   Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judg;ment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material cnanges in economic circumstances.

                                                                                  7/11/2017
                                                                              Date oflmposition of Judgment




                                                                              Signature of Judge




                                                                                  Dee Benson U.S. District Judge
                                                                              Name and Title of Judge


                                                                                  7/11/2017
                                                                              Date
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AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                      Judgment - Page    2    of   7
 DEFENDANT: Nathaniel Craigen Jetter
 CASE NUMBER: DUTX 2:16CR00324-001

                                                             IMPRISONMENT
             The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  60 months.




      Ill"   The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends that the defendant be placed in a Federal Correctional Institution as close as possible to Utah, for
  family visitations. The Court also recommends that the defendant participates and completes the 500 hour drug re-hab
  program.

      Ill    The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
             D at                                  D a.m.       D p.m.       on

             D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D before 2 p.m. on
             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                       to

  a   ~~~~~~~~~~~~~~~-
                                                     , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                           By ~~~~~~~~----~~~-,-~c--c~~~~~~~~
                                                                                                 DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                       Judgment-Page     3    of         7
DEFENDANT: Nathaniel Craigen Jetter
CASE NUMBER: DUTX 2:16CR00324-001
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:        36 months.



                                                     MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's detennination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.     ~You must cooperate in the collection of DNA as directed by the probation officer. {check if applicable)
5.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.     D You must participate in an approved program for domestic violence. {check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Caso
                       Sheet 3A - Supervised Release
                                                                                             Judgment-Page   _ _4~-- of _ _ _7_ __
DEFENDANT: Nathaniel Craigen Jetter
CASE NUMBER: DUTX 2:16CR00324-001

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
        days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not cotmnunicate or interact with someone you lmow is engaged in criminal activity. If you know someone has been
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.     You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
        designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers ).
11.     You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
        first getting the permission of the court.
 12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
        person and confirm that you have notified the person about the risk.
 13.    You must follow the instructions of the probation officer related to the conditions of supervision.
 14.   You must submit your person, residence, office or vehicle to search, conducted by the probation office at a reasonable time and in a
       reasonable manner based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
       to a search may be grounds for revocation; you must warn any other residents that the premises may be subject to searches pursuant to this
       condition.
U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

       Defendant's Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                               Date
                                                                                                               ------------
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AO 245B(Rev. 11/16)   Judgment in a Criminal Case
                      Sheet 3D - Supervised Release
                                                                                             Judgment-Page -~5- of      7
DEFENDANT: Nathaniel Craigen Jetter
CASE NUMBER: DUTX 2:16CR00324-001

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant will submit to drug/alcohol testing as directed by the probation office.

 2. The defendant shall participate in a substance abuse evaluation and/or treatment under a co-payment plan as directed
 by the probation office. During the course of treatment, the defendant shall not consume alcohol nor frequent any
 establishment where alcohol is the primary item of order.

 3. The defendant shall not use or possess alcohol, nor frequent businesses where alcohol is the chief item of order.

 4. The defendant shall participate in the United States Probation and Pretrial Services Office Computer and Internet
 Monitoring Program under a co-payment plan, and will comply with the provisions outlined in: Appendix A, Limited Internet
 Access (Computer and internet use, as approved, not applicable to third-party employment.) Furthermore; all computers,
 networks, internet accessible devices, media storage devices, and digital media accessible to the defendant are subject to
 manual inspection/search, configuration, and the installation of monitoring software and/or hardware.

 5. The defendant shall participate in a mental health treatment program under a co-payment plan as directed by the
 probation office, take any mental health medications as prescribed.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment -   Page    6   of        7
 DEFENDANT: Nathaniel Craigen Jetter
 CASE NUMBER: DUTX 2:16CR00324-001
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                   JVTA Assessment*              Fine                        Restitution
 TOTALS            $ 100.00                      $                              $ 0.00                       $ 13,380.62


 D The determination ofrestitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.




   9010 S. 150 E. Sandy, Utah




   8901 State Street, Sandy, Utah




  TOTALS                               $                   13,380.62           $ _ _ _ _ _1_3,_38_0_.6_2_


  D     Restitution amount ordered pursuant to plea agreement $

  D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

  ~     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        ~ the interest requirement is waived for the              D fine   ~ restitution.

        D the interest requirement for the           D     fine    D   restitution is modified as follows:

  *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
  **Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
  after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 11/16)       Judgment in a Criminal Case
                           Sheet 6 - Schedule of Payments

                                                                                                                                              Judgment - Page             7         of           7
 DEFENDANT: Nathaniel Craigen Jetter
 CASE NUMBER: DUTX 2:16CR00324-001

                                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ill   Lump sum payment of$ _1_0_0_.o_o_ _ __ due immediately, balance due

             D       not later than                                                     , or
             D       in accordance with            D C,           D D,           D       E,or         D Fbelow; or
 B     D Payment to begin immediately (may be combined with                                        DC,             DD, or            D F below); or

 C     D Payment in equal                                  (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                                 (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal                                         (e.g., weekly, monthly, quarterly) installments of $                                   over a period of
                                  (e.g., months or years), to commence                                       (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     Ill   Special instructions regarding the payment of criminal monetary penalties:

               SAP $100.00, No fine is imposed. Restitution $13,380.62 is due immediately and payable at an amount of $25.00
               per month {After Incarceration),


               due at the 5th of each month, or as directed by the probation office.
 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.                                            .

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.                                                   .




  D    The defendant shall pay the cost of prosecution.

  D    The defendant shall pay the following court cost(s):

  ~    The defendant shall forfeit the defendant's interest in the following property to the United States:
         1) Taurus PT111 Millennium G2 9mm pistol, serial number: TJN83586; (2) 61 rounds 9mm ammunition; (3) Three-piece die/plate set that forms and stamps a tablet with "M" on one side and "30" on
         the other side.

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) commumty restitution, (7) JVT A assessment, (8) penalties, and (9) costs, mcludmg cost of prosecution and court costs.
